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                                     12
                                          Jonathan Yantis, Malcolm CasSelle, and William Quigley
                                     13
                                                               UNITED STATES DISTRICT COURT
                                     14
                                                              CENTRAL DISTRICT OF CALIFORNIA
                                     15

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                                          CRYPTO ASSET FUND, LLC, a                  Case No. 2:19-cv-06983-CJC-JCx
                                     17   Delaware limited liability company, and
                                          DIGITAL CAPITAL MANAGEMENT,                [Hon. Cormac J. Carney]
                                     18   LLC, a Delaware limited liability
                                          company,                                   DEFENDANTS’ NOTICE OF
                                     19                                              MOTION AND MOTION FOR
                                                                  Plaintiff,         LEAVE TO FILE
                                     20
                                          vs.                                        SUPPLEMENTAL AUTHORITY
                                     21                                              IN SUPPORT OF MOTIONS TO
                                          OPSKINS GROUP INC., a Canadian             DISMISS OR STAY THE
                                     22   company dba WORLDWIDE ASSET
                                          EXCHANGE; EXPOSITION PARK                  ACTION
                                     23   HOLDINGS SEZC, a Cayman Islands            [DKT. NOS. 14, 24, 26, 40]
                                          corporation; WILLIAM QUIGLEY, an
                                     24   individual; JONATHAN YANTIS, an
                                          individual; JOHN BRECHISCI, JR., an
                                     25   individual; MALCOLM CASSELLE, an           Hearing Date: August 17
                                          individual; and DOES 1-10, inclusive,      Hearing Time: 1:30
                                     26
                                                                  Defendant.         Hearing Place: Courtroom 7C
                                     27

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                                                DEFENDANTS’ NOTICE OF MOTION AND MOTION FOR LEAVE TO FILE SUPPLEMENTAL
                                                     AUTHORITY IN SUPPORT OF MOTIONS TO DISMISS OR STAY THE ACTION
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                                      1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                      2         PLEASE TAKE NOTICE THAT on August 17, 2020, at 1:30 p.m., or as soon
                                      3   thereafter as counsel may be heard before the Honorable Cormac J. Carney, United
                                      4   States District Judge, Courtroom 7C, United States Courthouse, 350 W. 1st Street, Los
                                      5   Angeles, CA 90012, Defendants Exposition Park Holdings SEZC (“EPH”), OPSkins
                                      6   Group Inc., Jonathan Yantis, Malcolm CasSelle, and William Quigley (collectively,
                                      7   “Defendants”)1 will and hereby do move the Court for leave to file supplemental
                                      8   authority (attached hereto as Exhibit A) in support of their respective Motions to
                                      9   Dismiss or Stay the Action [Dkts. 14, 24, 26, 40].
1888 CENTURY PARK EAST, SUITE 1000




                                     10         On August 12, 2019, Plaintiffs Crypto Asset Fund, LLC, and Digital Capital
      LOS ANGELES, CA 90067




                                     11   Management, LLC (collectively, “Plaintiffs”), filed their Complaint against Defendants
        LATHROP GAGE LLP




                                     12   alleging securities laws violations, breach of contract, and violations of California
                                     13   Business & Professions Code § 17200. (Dkt. 1.)
                                     14         Each of the Defendants thereafter filed a Motion to Dismiss or Stay the Action.
                                     15   (Dkts. 14, 24, 26, and 40.) Plaintiffs have filed Oppositions to each of these Motions,
                                     16   except for the Motion brought by Defendant Quigley. (Dkts. 20, 31, and 32.)
                                     17         The Court ordered the parties to take the deposition of Thomas Graham because
                                     18   the “Court believes that deposition testimony from Mr. Graham will help the Court
                                     19   decide whether the parties had a valid arbitration agreement, and that the interests of
                                     20   justice require Mr. Graham be deposed.” (Dkt. 39; see also Dkt. 45 extending the
                                     21   deadline by which to take the deposition of Mr. Graham.)
                                     22         Thereafter, the parties took the deposition of Mr. Graham and filed their
                                     23   supplemental briefs regarding the import of Mr. Graham’s testimony. (Dkts. 54, 55.)
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                                            John Brechisci is named as a defendant in their Complaint but has not been served in
                                     28   this action.
                                              DEFENDANTS’ NOTICE OF MOTION AND MOTION FOR LEAVE TO FILE SUPPLEMENTAL
                                                   AUTHORITY IN SUPPORT OF MOTIONS TO DISMISS OR STAY THE ACTION
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 1         In its November 25, 2019 Order (Dkt. 45), the Court vacated the hearing for the
 2   Motion by Defendant Quigley.        Without a hearing date set for that Motion, no
 3   opposition was filed, nor was any reply in support of the Motion.
 4         At the time of this filing, the Court has not issued a ruling on any of the
 5   Defendants’ Motions to Dismiss or Stay the Action.
 6         In Plaintiffs’ Oppositions to the Motions to Dismiss or Stay, Plaintiffs’ argue, in
 7   part, that all Defendants except EPH cannot seek dismissal or stay based on an
 8   arbitration agreement because they are not signatories to the contract that contains the
 9   arbitration provisions and the arbitration provision would be governed by the
10   International Convention on the Recognition and Enforcement of Foreign Arbitration
11   Awards (“the Convention”), 21 U.S.T. 2517, T.I.A.S. No. 6997. For this proposition,
12   the Oppositions cite Yang v. Majestic Blue Fisheries, LLC, 876 F.3d 996 (9th Cir. 2017).
13         On June 1, 2020, the United States Supreme Court issued its opinion in GE
14   Energy Power Conv. France SAS, Corp. v. Outokumpu Stainless USA, LLC, -- U.S. --,
15   140 S. Ct. 1637 (2020). The Outokumpu opinion abrogates Yang and holds arbitration
16   agreements subject to the Convention can be enforced by non-signatories based on state
17   law principals such as assumption, piercing the corporate veil, alter ego, incorporation
18   by reference, third-party beneficiary theories, waiver and estoppel. Id. at 1643-44.
19         Defendants respectfully request the Court grant them leave to file a short
20   memorandum, not to exceed five pages, addressing the effect of the Outokumpu
21   decision on the Motions to Dismiss or Stay the Action in the form attached hereto as
22   Exhibit A, or for such other relief as this Court deems reasonable and just.
23         This Motion is based on this Notice of Motion and Motion, all pleadings on file
24   in this action, all matters of which the Court may take judicial notice, and such further
25   oral or documentary evidence or argument that the Court may consider.
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         DEFENDANTS’ NOTICE OF MOTION AND MOTION FOR LEAVE TO FILE SUPPLEMENTAL
              AUTHORITY IN SUPPORT OF MOTIONS TO DISMISS OR STAY THE ACTION
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 1         This Motion is brought following the conference of counsel pursuant to L.R. 7-
 2   3, which took place on July 15 and 17, 2020.
 3

 4    Dated: July 20, 2020                      LATHROP GAGE LLP
 5                                              By: /s/ Caroline A. H. Sayers
 6                                                 Caroline A. H. Sayers
                                                   Attorneys for Defendant
 7                                                 Exposition Park Holdings SEZC,
                                                   OPSkins Group, Inc., Jonathan
 8                                                 Yantis, William Quigley, Malcolm
                                                   CasSelle
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         DEFENDANTS’ NOTICE OF MOTION AND MOTION FOR LEAVE TO FILE SUPPLEMENTAL
              AUTHORITY IN SUPPORT OF MOTIONS TO DISMISS OR STAY THE ACTION
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